Case 1:16-cv-04756-NGG-VMS Document 240 Filed 01/13/18 Page 1 of 34 PageID #: 3736




                        UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF NEW YORK

    MARTÍN JONATHAN BATALLA VIDAL,
    ANTONIO ALARCON, ELIANA FERNANDEZ,
    CARLOS VARGAS, MARIANO
    MONDRAGON, and CAROLINA FUNG FENG,
    on behalf of themselves and all other similarly
    situated individuals, and MAKE THE ROAD
    NEW YORK, on behalf of itself, its members, its    Case No. 1:16-cv-04756 (NGG) (JO)
    clients, and all similarly situated individuals.
                                                       PLAINTIFFS’ MEMORANDUM
                  Plaintiffs,                          OF LAW IN OPPOSITION TO
                                                       DEFENDANTS’ MOTION TO
                          v.
                                                       DISMISS
    KIRSTJEN M. NIELSEN, Secretary of the
    Department of Homeland Security, JEFFERSON
    BEAUREGARD SESSIONS III, Attorney General
    of the United States, and DONALD J. TRUMP,
    President of the United States,

                  Defendants.
Case 1:16-cv-04756-NGG-VMS Document 240 Filed 01/13/18 Page 2 of 34 PageID #: 3737




                                                     TABLE OF CONTENTS

   INTRODUCTION ........................................................................................................................ 1

   BACKGROUND ........................................................................................................................... 2

            A.      The Creation of the DACA Program .............................................................................. 2

            B.      Defendants’ Termination of the DACA Program ........................................................... 2

   ARGUMENT ................................................................................................................................. 3

      I.         THIS CASE IS JUSTICIABLE .......................................................................................... 3

            A.      Plaintiffs Have Standing To Bring Their Procedural Due Process Claims. ................... 3

            B.      MRNY Has a Cause of Action Under the APA. ............................................................. 5

      II.        PLAINTIFFS STATE CLAIMS ON WHICH RELIEF MAY BE GRANTED ................ 7

            A.      The DACA Termination is Arbitrary and Capricious..................................................... 7

            B.      The Duke Memo Is a Substantive Rule Requiring Notice and Comment. ................... 12

            C.      Plaintiffs Properly Plead an RFA Claim. ...................................................................... 16

            D.      Plaintiffs Adequately Plead the DACA Termination Violates Equal Protection. ........ 16

            E.      Plaintiffs State a Procedural Due Process Claim. ......................................................... 21

      CONCLUSION ......................................................................................................................... 25




                                                                        i
Case 1:16-cv-04756-NGG-VMS Document 240 Filed 01/13/18 Page 3 of 34 PageID #: 3738




                                                  TABLE OF AUTHORITIES
   Cases

   Am. Freedom Def. Initiative v. Metro. Transp. Auth.,
     815 F.3d 105 (2d Cir. 2016) ....................................................................................................... 4

   Amerijet Int’l, Inc. v. Pistole,
     753 F.3d 1343 (D.C. Cir. 2014) .................................................................................................. 9

   Appalachian Power Co. v. E.P.A.,
     208 F.3d 1015 (D.C. Cir. 2000) ................................................................................................ 15

   Ashcroft v. Iqbal,
     556 U.S. 662 (2009) .............................................................................................................. 3, 17

   Augustin v. Sava,
     735 F.2d 32 (2d Cir. 1984) ....................................................................................................... 23

   Barrows v. Burwell,
     777 F.3d 106 (2d Cir. 2015) ..................................................................................................... 22

   Batterton v. Marshall,
     648 F.2d 694 (D.C. Cir. 1980) .................................................................................................. 13

   Bd. of Trustees of Univ. of Ala. v. Garrett,
     531 U.S. 356 (2001) .................................................................................................................. 16

   Bell Atl. Corp. v. Twombly,
     550 U.S. 544 (2007) .................................................................................................................... 3

   Bell v. Burson,
     402 U.S. 535 (1971) .................................................................................................................. 23

   Bowman Dairy Co. v. U.S.,
     341 U.S. 214 (1951) .................................................................................................................. 17

   Brown v. City of Oneonta,
     221 F.3d 329 (2d Cir. 2000) ..................................................................................................... 17

   Burlington Truck Lines v. United States,
     371 U.S. 156 (1962) .......................................................................................................... 8, 9, 11

   City of Cleburne v. Cleburne Living Ctr.,
     473 U.S. 432 (1985) .................................................................................................................. 16




                                                                        ii
Case 1:16-cv-04756-NGG-VMS Document 240 Filed 01/13/18 Page 4 of 34 PageID #: 3739




   Clarke v. Secs. Indus. Ass’n,
     479 U.S. 388 (1987) .................................................................................................................... 6

   Cmty. Nutrition Inst. v. Young,
    818 F.2d 943 (D.C. Cir. 1987) .................................................................................................. 13

   Consumer Energy Council of Am. v. Fed. Energy Regulatory Comm’n,
     673 F.2d 425 (D.C. Cir. 1982), aff’d sub nom. Process Gas Consumers Grp. v.
     Consumer Energy Council of Am., 463 U.S. 1216 (1983).................................................. 15, 16

   Cty. of Los Angeles v. Davis,
     440 U.S. 625 (1979) .................................................................................................................... 4

   Darby v. Cisneros,
     509 U.S. 137 (1993) .................................................................................................................... 5

   De Jesus Ramirez v. Reich,
     156 F.3d 1273 (D.C. Cir. 1998) .................................................................................................. 6

   Degen v. United States,
     517 U.S. 820 (1996) .................................................................................................................. 17

   Doe 1 v. Trump,
     2017 WL 4873042 (D.D.C. Oct. 30, 2017) .............................................................................. 20

   Fed’n for Am. Immigration Reform, Inc. v. Reno,
     93 F.3d 897 (D.C. Cir. 1996) ...................................................................................................... 7

   Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc.,
     528 U.S. 167 (2000) .................................................................................................................... 4

   Guardian Fed. Sav. & Loan Ass’n v. Fed. Sav. & Loan Ins. Corp.,
     589 F.2d 658 (D.C. Cir. 1978) .................................................................................................. 13

   Hayden v. Cty. of Nassau,
     180 F.3d 42 (2d Cir. 1999) ................................................................................................. 16, 17

   Hunt v. Wash. State Apple Advert. Comm’n,
     432 U.S. 333 (1977) ................................................................................................................ 3, 4

   In Re Motors Liquidation Co.,
      829 F.3d 135 (2d Cir. 2016) ..................................................................................................... 23

   Int’l Refugee Assistance Project v. Trump,
      265 F. Supp. 3d 570 (D. Md. 2017) .......................................................................................... 20




                                                                       iii
Case 1:16-cv-04756-NGG-VMS Document 240 Filed 01/13/18 Page 5 of 34 PageID #: 3740




   Int’l Refugee Assistance Project v. Trump,
      857 F.3d 554, 601 (4th Cir. 2017) (en banc), vacated as moot, 138 S.Ct. 353 (2017) ....... 20, 21

   Int’l Union, United Mine Workers of Am. v. Mine Safety & Health Admin.,
      407 F.3d 1250 (D.C. Cir. 2005) ................................................................................................ 16

   Kurapati v. USCIS,
     775 F.3d 1255 (11th Cir. 2014) .................................................................................................. 6

   Landon v. Plasencia,
     459 U.S. 21 (1982) .................................................................................................................... 23

   LeBlanc-Sternberg v. Fletcher,
     67 F.3d 412 (2d Cir. 1995) ....................................................................................................... 20

   Lexmark Int’l, Inc. v. Static Control Components, Inc.,
     134 S. Ct. 1377 (2014) ................................................................................................................ 5

   Logan v. Zimmerman Brush Co.,
     455 U.S. 422 (1982) .................................................................................................................. 23

   Mada-Luna v. Fitzpatrick,
    813 F.2d 1006 (9th Cir. 1987) .................................................................................................. 14

   Main Street Legal Servs., Inc. v. Nat’l Sec’y Council,
    811 F.3d 542 (2d Cir. 2016) ..................................................................................................... 17

   Match-E-Be-Nash-She-Wish Band of Pottawatomi Indians v. Patchak,
    567 U.S. 209 (2012) .................................................................................................................... 5

   Mathews v. Eldridge,
    424 U.S. 319 (1976) .................................................................................................................. 24

   McCreary Cty., Ky. v. Am. Civil Liberties Union of Ky.,
    545 U.S. 844 (2005) .................................................................................................................. 21

   Mexichem Specialty Resins, Inc. v. E.P.A.,
    787 F.3d 544 (D.C. Cir. 2015) .................................................................................................. 10

   Montilla v. I.N.S.,
    926 F.2d 162 (2d Cir. 1991) ............................................................................................... 22, 25

   Mullane v. Cent. Hanover Bank & Tr. Co.,
    339 U.S. 306 (1950) .................................................................................................................. 24




                                                                       iv
Case 1:16-cv-04756-NGG-VMS Document 240 Filed 01/13/18 Page 6 of 34 PageID #: 3741




   Nat’l Treasury Employees Union v. Cornelius,
     617 F. Supp. 365 (D.D.C. 1985) ............................................................................................... 15

   Nolasco v. Holder,
     637 F.3d 159 (2d Cir. 2011) ..................................................................................................... 25

   Organized Vill. of Kake v. U.S. Dep’t of Agric.,
     795 F.3d 956 (9th Cir. 2015) (en banc) ...................................................................................... 9

   Palmore v. Sidoti,
     466 U.S. 429 (1984) .................................................................................................................. 16

   Pickus v. U.S. Bd. of Parole,
     507 F.2d 1107 (D.C. Cir. 1974) ................................................................................................ 13

   Pub. Citizen, Inc. v. U.S. Nuclear Regulatory Comm’n,
     940 F.2d 679 (D.C. Cir. 1991) ............................................................................................ 12, 13

   Regents of the Univ. of Cal. v. U.S. Dep't of Homeland Sec.,
     Nos. 17-0521, 17-05235, 17-05329, 17-05380, 17-05813, slip op. (N.D. Cal. Jan. 12,
     2018) ................................................................................................................................... 14, 18

   Regents of the Univ. of Cal. v. U.S. Dep’t of Homeland Sec.,
     Nos. 17-0521, 17-05235, 17-05329, 17-05380, 17-05813, 2018 WL 339144 (N.D. Cal.
     Jan. 8, 2018) ....................................................................................................................... passim

   Rodriguez v. McLoughlin,
     214 F.3d 328 (2d Cir. 2000) ..................................................................................................... 23

   Romer v. Evans,
     517 U.S. 620 (1996) .................................................................................................................. 16

   Scenic America, Inc. v. U.S. Dep’t of Transp.,
     836 F.3d 42 (D.C. Cir. 2016) .................................................................................................... 15

   SEC v. Chenery Corp. (Chenery I),
     318 U.S. 80 (1943) .................................................................................................................... 12

   Spinelli v. City of New York,
     579 F.3d 160 (2d Cir. 2009) ..................................................................................................... 23

   Strouchler v. Shah,
      891 F. Supp. 2d 504 (S.D.N.Y. 2012) ...................................................................................... 24

   Syracuse Peace Council v. F.C.C.,
     867 F.2d 654 (D.C. Cir. 1989) .................................................................................................. 11



                                                                           v
Case 1:16-cv-04756-NGG-VMS Document 240 Filed 01/13/18 Page 7 of 34 PageID #: 3742




   Texas v. United States,
     809 F.3d 134 (5th Cir. 2015), as revised (Nov. 25, 2015), aff’d by an equally divided
     Court, 136 S. Ct. 2271 (2016) ............................................................................................ 11, 12

   Toussie v. Town Bd. of East Hampton,
     874 F. Supp. 2d 135 (E.D.N.Y. 2012) ...................................................................................... 19

   Tufariello v. Long Island R.R. Co.,
     458 F.3d 80 (2d Cir. 2006) ....................................................................................................... 18

   U.S. ex rel. Parco v. Morris,
     426 F. Supp. 976 (E.D. Pa. 1977) ............................................................................................. 15

   U.S. Gypsum Co. v. Muszynski,
     161 F. Supp. 2d 289 (S.D.N.Y. 2001) ...................................................................................... 13

   United Mine Workers of Am. v. U.S. Dep’t of Labor,
     358 F.3d 40 (D.C. Cir. 2004) ...................................................................................................... 9

   United States ex rel. Accardi v. Shaughnessy,
     347 U.S. 260 (1954) .................................................................................................................. 25

   United States v. Armstrong,
     517 U.S. 456 (1996) .................................................................................................................. 17

   United States v. Copeland,
   376 F.3d 61 (2d Cir. 2004)............................................................................................................ 23

   United States v. Texas,
     136 S. Ct. 2271 (2016) .............................................................................................................. 11

   Victory v. Pataki,
     814 F.3d 47 (2d Cir. 2016), as amended (Feb. 24, 2016) ................................................... 22, 23

   Vill. of Arlington Heights v. Metro. Hous. Dev. Corp.,
     429 U.S. 252 (1977) .................................................................................................................. 20

   W.R. Huff Asset Mgmt. Co. v. Deloitte & Touche L.L.P.,
     549 F.3d 100 (2d Cir. 2008) ..................................................................................................... 18

   Washington v. Trump,
    847 F.3d 1151 (9th Cir. 2017) .................................................................................................. 21

   Yuen Jin v. Mukasey,
     538 F.3d 143 (2d Cir. 2008) ..................................................................................................... 23



                                                                       vi
Case 1:16-cv-04756-NGG-VMS Document 240 Filed 01/13/18 Page 8 of 34 PageID #: 3743




   Statutes

   5 U.S.C. § 551 ............................................................................................................................... 15

   5 U.S.C. § 553 ............................................................................................................................... 16

   5 U.S.C. §§ 601–612 ..................................................................................................................... 16

   8 U.S.C. § 1103 ............................................................................................................................... 8

   8 U.S.C. § 1324 ............................................................................................................................... 6

   Other Authorities

   Josh Dawsey, Trump Attacks Protections for Immigrants From ‘Shithole’ Countries, Wash. Post
     (Jan. 11, 2018), goo.gl/T7Wxja ................................................................................................ 19

   Oral Argument, In re Nielsen, No. 17-3345 (2d Cir. Dec. 14, 2017),
     http://www.ca2.uscourts.gov/decisions/isysquery/76fe6da8-ebaf-4dc5-b7ae-
     8f67f4b6856b/10/doc/17-3345%202.mp3 .................................................................................. 9

   USCIS, Consideration of Deferred Action for Childhood Arrivals – How to Renew DACA,
     https://www.uscis.gov/videos/consideration-deferred-action-childhood-arrivals-how-renew-
     daca (last updated Sept. 5, 2017) .............................................................................................. 22

   Rules

   Fed. R. Civ. P. 26 .......................................................................................................................... 17

   Fed. R. Crim. P. 16 ....................................................................................................................... 17

   Fed. R. of Evid. 201 ...................................................................................................................... 19




                                                                         vii
Case 1:16-cv-04756-NGG-VMS Document 240 Filed 01/13/18 Page 9 of 34 PageID #: 3744




                                          INTRODUCTION

          Defendants’ cruel decision to terminate Deferred Action for Childhood Arrivals (“DACA”)

   has thrown millions of lives into turmoil. It also violates procedural and substantive requirements

   of the Administrative Procedure Act (“APA”) and the Constitution. Defendants offer no reasoned

   explanation for their action, only empty pretextual statements intended to mask their intention to

   carry out the President’s anti-Mexican and anti-Latino agenda, and to achieve a wish list of

   hardline campaign promises on immigration. Unlawful and unreasoned agency behavior of this

   magnitude, and on such scant reasoning, cannot escape the thorough and searching review

   mandated by Congress and our Constitution. Plaintiffs have pleaded facts more than sufficient to

   establish that Defendants’ termination of DACA was arbitrary and capricious; lacked in process

   required by the APA, the Regulatory Flexibility Act (“RFA”), and the Constitution; and was

   substantially motivated by racial animus.

          Defendants cannot justify their illegal conduct with post-hoc rationalizations, none of

   which validate the DACA Termination. Nor can they evade the APA’s and RFA’s procedural

   requirements by pretending that the Duke Memo does not bind the agency, when it is plainly a

   substantive rule for which notice-and-comment rule-making is mandatory. Plaintiffs have also

   adequately pleaded claims that Defendants’ termination of DACA was impermissibly motivated

   by discriminatory animus and that Defendants wrongfully deprived thousands of individuals who

   timely submitted renewal applications, including members and clients of Plaintiff Make the Road

   New York, of fair consideration of their applications for deferred action. Defendants’ motion to

   dismiss should be denied.




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Case 1:16-cv-04756-NGG-VMS Document 240 Filed 01/13/18 Page 10 of 34 PageID #: 3745




                                                    BACKGROUND

            A.     The Creation of the DACA Program1

            On June 15, 2012, then-Secretary of the Department of Homeland Security (“DHS”) Janet

   Napolitano issued a memorandum creating DACA (“2012 DACA Memo”), which directed DHS

   to “exercise [its] discretion” by considering applications for deferred action “on an individual

   basis” to young people who satisfied specific eligibility criteria. Pls.’ Third Am. Compl., Ex. A,

   ECF No. 113 [hereinafter “TAC”]. Since its creation, DACA has transformed the lives of nearly

   800,000 individuals who have relied on the program to pursue educational and career

   opportunities, support their family members, and live without fear of being separated from their

   homes. TAC ¶¶ 81–82.

            B.     Defendants’ Termination of the DACA Program

            On September 5, 2017, Attorney General Sessions announced the DACA Termination.

   TAC, Ex. F. Later that day, then-Acting Secretary Duke issued the Duke Memo, which directed

   DHS officials to categorically reject all initial requests for deferred action received after September

   5, 2017, and all renewal applications from recipients whose deferred action expires after March 5,

   2018. TAC ¶ 104, Ex. E. The Memo also required that renewal applications from those whose

   deferred action expired on or before March 5, 2018 be received by DHS no later than October 5,

   2017. Id. Defendants rejected nearly 4,000 renewal applications due to problems with United

   States Citizenship and Immigration Services (“USCIS”) lockboxes, unreasonable delays by the

   U.S. Postal Service, and minor clerical errors, whether by the government reviewer or by the

   applicant. See TAC ¶¶ 203–04, Ex. H. Nearly 22,000 DACA recipients2 did not meet the October


   1
     A fuller description of the facts is set forth in Plaintiffs’ motion for preliminary injunction. See Pls.’ Mem. in
   Support of Prelim. Inj. 2–9, ECF No. 123-1 (“PI Mot.”).
   2
     The term “DACA recipient” refers to any individual who received deferred action through DACA.




                                                               2
Case 1:16-cv-04756-NGG-VMS Document 240 Filed 01/13/18 Page 11 of 34 PageID #: 3746




   5 deadline. See Ex. A. As a result, about 122 people lose their deferred action status under DACA

   each day. Id. On March 5, that number will rise to 915 people daily. See Ex. B.

                                                    ARGUMENT3

       I.        THIS CASE IS JUSTICIABLE4

            A.     Plaintiffs Have Standing To Bring Their Procedural Due Process Claims.

            Make the Road New York (“MRNY”) has standing, on behalf of itself, its members and

   clients, to challenge Defendants’ violations of procedural due process. Defendants refused to

   consider the renewal applications of thousands of DACA recipients because of unusual mail delays

   and minor clerical errors, and without providing adequate notice of the grounds for rejection. TAC

   ¶¶ 114–18, 123–25. To plead associational standing, MRNY must establish that one of its members

   has standing for this claim, that the affected members’ interests are germane to MRNY’s

   organizational purpose, and that “neither the claim asserted nor the relief requested requires the

   participation of individual members in the lawsuit.” Hunt v. Wash. State Apple Advert. Comm’n,

   432 U.S. 333, 343 (1977). MRNY satisfies these requirements. Defendants’ purported voluntary

   cessation of improper conduct neither remedies nor moots their ongoing due process violations.

   Nor is MRNY required to exhaust any further administrative remedies. Defendants’ motion to

   dismiss this claim for lack of standing must be rejected.

            MRNY has identified specific members and clients who have been harmed by the

   government’s procedural due process violations, including Ms. Rivas, whose renewal application

   Defendants rejected for a perceived clerical error, Taylor Decl. ¶¶ 48–58; Jhonathan Meruvia,

   whose application Defendants rejected because one page was inadvertently omitted, see id. ¶¶ 59–


   3
     Plaintiffs assume this Court’s familiarity with the legal standards for Federal Rule of Civil Procedure 12(b)(1) and
   12(b)(6). See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009); Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556 (2007).
   4
     In light of this Court’s order certifying its November 9 Memorandum and Order for interlocutory appeal, Plaintiffs
   do not restate their response to Defendants’ renewed jurisdiction and justiciability arguments.


                                                             3
Case 1:16-cv-04756-NGG-VMS Document 240 Filed 01/13/18 Page 12 of 34 PageID #: 3747




   67; and several members and clients whose applications Defendants rejected because of postal

   delays, TAC ¶¶ 121–22. These injuries are sufficient to establish the individual members’ standing.

   See Hunt, 432 U.S. at 342–43. Defendants do not contest that immigration relief is germane to

   MRNY’s organizational purpose or that the relief sought—a change in policy for USCIS to provide

   process to unfairly denied renewal applicants—does not require participation of individual

   plaintiffs. For these reasons, MRNY has standing to pursue the new procedural due process claim.5

            Defendants nonetheless argue that MRNY lacks standing on these claims because

   Defendants’ subsequent voluntary remedial efforts—taken after Plaintiffs’ counsel raised these

   concerns—moot the claims. See Defs.’ Mot. to Dismiss TAC 25 [hereinafter “MTD”] (claiming a

   process exists). This argument fails on both factual and legal grounds.

            As a legal matter, “[t]he voluntary cessation of challenged conduct will not ‘ordinarily

   render a case moot because a dismissal for mootness would permit a resumption of the challenged

   conduct as soon as the case is dismissed.’” Am. Freedom Def. Initiative v. Metro. Transp. Auth.,

   815 F.3d 105, 109 (2d Cir. 2016). Accordingly, these claims are only mooted by Defendants’

   voluntary conduct if they can carry the “heavy burden” of persuading the Court it is “absolutely

   clear that the allegedly wrongly behavior could not reasonably be expected to recur,” Friends of

   the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 170 (2000), and that their efforts

   have “completely and irrevocably eradicated the effects of the alleged violation,” Cty. of Los

   Angeles v. Davis, 440 U.S. 625, 631 (1979); accord Am. Freedom Def. Initiative, 815 F.3d at 109.

   Defendants scarcely attempt to carry, and fail to meet, these burdens.

            Nor have Defendants even ceased the challenged conduct, as a factual matter. Defendants



   5
     Plaintiffs restated their Fourth Claim for Relief, the separate procedural due process claim for inconsistent notice,
   TAC ¶¶ 188–94, to preserve it for appeal, but recognize that this Court’s November 9 Memorandum and Order
   requires dismissal here.


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Case 1:16-cv-04756-NGG-VMS Document 240 Filed 01/13/18 Page 13 of 34 PageID #: 3748




   purport to have created a process for applicants to report mistaken rejections by lockbox staff, but

   MRNY members, clients, and countless others have received no recourse from these claimed

   procedures. Undersigned counsel have repeatedly written requesting action on the improperly

   rejected applications of numerous individuals, see Taylor Decl. Ex. A, B, C, D, but Defendants

   have failed to agree to adjudicate most of these. This is true for applications delayed by postal

   mishaps as well as for those Defendants wrongly rejected for clerical errors, like that of Ms. Rivas.

   TAC ¶ 124, Ex. J. Even the plain text of Defendants’ recently adopted procedures reveals that, if

   USCIS determines an application contained an actual, but easily correctible, clerical error,

   applicants have no process for recourse at all. TAC ¶ 133. Defendants’ representations that their

   process for mistaken rejections factually addresses Plaintiffs’ claim are simply misleading, and

   cannot be credited at a motion to dismiss stage.

            Defendants’ final argument, that Plaintiffs should have exhausted their claims through

   administrative remedies, also fails. MTD 11–12. Under § 704 of the APA, individuals are required

   to exhaust administrative remedies only where a statute or agency rule explicitly requires

   exhaustion through an inter-agency appeal. Darby v. Cisneros, 509 U.S. 137 (1993). That is not

   the case here, as Defendants do not and cannot point to any statute or agency rule requiring an

   inter-agency appeal prior to filing an APA claim.

            B.     MRNY Has a Cause of Action Under the APA.

            The interests of MRNY, as well as of its members and clients, fall squarely within the zone

   of interests protected by the Immigration and Nationality Act (“INA”), such that MRNY has a

   cause of action under the APA.6 Despite clear support for MRNY’s claim to relief, see Pls.’ Opp.


   6
     A plaintiff has a cause of action as long as its interest is “arguably . . . protected or regulated” by the relevant
   statute. Match-E-Be-Nash-She-Wish Band of Pottawatomi Indians v. Patchak, 567 U.S. 209, 224 (2012) (quotation
   omitted). In light of the “generous review provisions of the APA,” courts take a “lenient approach” to the zone of
   interests test in APA suits. Lexmark Int’l, Inc. v. Static Control Components, Inc., 134 S. Ct. 1377, 1389 (2014).


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Case 1:16-cv-04756-NGG-VMS Document 240 Filed 01/13/18 Page 14 of 34 PageID #: 3749




   to Defs.’ Mot. to Dismiss 16–18, ECF No. 102, Defendants continue to disregard applicable

   provisions of the INA and mischaracterize the test for a valid cause of action under the APA.

           The interests of noncitizen members and clients of MRNY are clearly “regulated by” the

   provisions of the INA.7 MRNY’s thousands of clients and over 21,000 dues-paying members

   include current DACA recipients and those potentially eligible for deferred action under DACA.

   TAC ¶¶ 48–57. Because of the DACA Termination, these individuals are at imminent risk of

   losing, or have already begun to lose, work authorization, critical access to health-care services,

   educational and professional opportunities; and protection from deportation. See TAC ¶¶ 82, 85;

   8 C.F.R. § 274a.12(c)(14). These interests—identical to those of the individual DACA Plaintiffs

   whose causes of action go unchallenged by Defendants—are plainly within the zone of interests

   of the INA. See Clarke v. Secs. Indus. Ass’n, 479 U.S. 388, 401–03 (1987) (determining that an

   association has a cause of action because its members fall within the zone of interests); Regents of

   the Univ. of Cal. v. U.S. Dep’t of Homeland Sec., Nos. 17-0521, 17-05235, 17-05329, 17-05380,

   17-05813, 2018 WL 339144, at *15–16 (N.D. Cal. Jan. 8, 2018).

           MRNY is also within the INA’s zone of interests by virtue of its status as an employer of

   DACA recipients. MRNY currently has twelve employees who will lose their work authorization

   under DACA, see TAC ¶ 50, forcing MRNY to either fire these employees or risk criminal and

   civil penalties. See 8 U.S.C. §§ 1324(a)–(c). MRNY’s relationships with its DACA-recipient

   employees are regulated by the INA, putting the organization squarely within that statute’s zone




   7
     See generally Kurapati v. USCIS, 775 F.3d 1255, 1261 (11th Cir. 2014) (holding that even if the INA was intended
   to benefit American employers and protect jobs for American citizens, Congress also “acted with the intent to
   regulate or protect immigrants’ interests”); De Jesus Ramirez v. Reich, 156 F.3d 1273, 1276 (D.C. Cir. 1998)
   (“[A]liens are obviously regulated by the [INA]”).




                                                           6
Case 1:16-cv-04756-NGG-VMS Document 240 Filed 01/13/18 Page 15 of 34 PageID #: 3750




   of interests. See Regents, 2018 WL 339144, at *16–17.8

       II.        PLAINTIFFS STATE CLAIMS ON WHICH RELIEF MAY BE GRANTED

             A.        The DACA Termination is Arbitrary and Capricious.

             Plaintiffs allege facts sufficient to support a claim that Defendants’ termination of DACA

   is arbitrary and capricious. See, e.g., TAC ¶¶ 81–88, 101–59. As Plaintiffs argue at length in their

   Motion for a Preliminary Injunction, Defendants have failed to adequately explain the reasons for

   terminating DACA; failed to provide a reasoned explanation for their policy reversal, which was

   particularly necessary in light of the serious reliance interests at stake; failed to consider all

   relevant factors, including DACA’s benefits and alternatives to terminating it; relied on an

   erroneous legal conclusion to end the program; and have proffered pretextual reasons for ending

   DACA that indicate bad faith. See Pls.’ Mem. 10–28; see also Regents, 2018 WL 339144, at *17–

   26. In moving to dismiss this claim, Defendants now provide reasons and reasoning that appear

   nowhere in the Duke Memo. They argue that an agency’s invocation of “litigation risk” essentially

   precludes meaningful APA review, and then claim Attorney General Sessions’ conclusion that

   DACA was unlawful is irrelevant to whether the Termination is arbitrary and capricious. MTD

   13–15. These arguments are wholly unsupported by the case law.

                  1.     Litigation Risk Cannot Justify Defendants’ Actions.

             This Court has already rejected Defendants’ argument that terminating DACA was an

   attempt to avoid potentially imminent litigation and any “disruption” for DACA recipients it might

   bring. Compare Mem. & Order 22, ECF No. 104, with MTD 14. Even if this reason were not an



   8
    Defendants’ reliance on Fed’n for Am. Immigration Reform, Inc. v. Reno, 93 F.3d 897 (D.C. Cir. 1996), is
   unavailing. MTD 12. Unlike MRNY, the would-be plaintiffs in that case—an anti-immigrant organization and its
   Miami-resident members—were in no way directly regulated by the INA, and only claimed injury from the “generic
   negative features of immigration,” such as an allegedly crowded employment market. Reno, 93 F.3d at 902.
   MRNY’s interests and those of its members, by contrast, are directly regulated by the INA, providing MRNY with a
   cognizable cause of action under the APA.


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Case 1:16-cv-04756-NGG-VMS Document 240 Filed 01/13/18 Page 16 of 34 PageID #: 3751




   illicit post-hoc justification, Defendants’ “litigation risk” argument is groundless.

           First, Defendants’ litigation-risk justification is a post-hoc rationalization rightly

   repudiated by this Court. See Burlington Truck Lines v. United States, 371 U.S. 156, 168 (1962)

   (under the APA, courts may not “accept appellate counsel’s post hoc rationalizations for agency

   action”). The Duke Memo says nothing about an intent to “minimiz[e] disruption to recipients,”

   MTD 1, nor does it elucidate the purportedly “self-evident complexities” associated with ending

   DACA, MTD 8, as Defendants now claim. To support their purported rationale, Defendants cite

   to a press release that was not even included in the administrative record. See MTD 14; Regents,

   2018 WL 339144, at *25 (“This press release came after the fact and was not part of the

   administrative record, and therefore cannot now rescue the agency.”). The Duke Memo itself

   states, quite opaquely, that upon “consideration [of] the Supreme Court’s and the Fifth Circuit’s

   rulings . . . and the September 4, 2017 letter from the Attorney General, it is clear that the June 15,

   2012 DACA program should be terminated.” TAC, Ex. E. To the extent that she could have been

   suggesting litigation risk, it is only to quote Attorney General Sessions’ letter speculating on the

   “likely” result of “potentially imminent litigation.” Id. Yet then-Acting Secretary Duke also quotes

   the Attorney General’s statement that DACA was “unconstitutional,” a conclusion of law she was

   required to accept under the INA. See 8 U.S.C. § 1103(a)(1); see also Regents, 2018 WL 339144,

   at *23 (Defendants’ “litigation risk” argument is “foreclosed by the INA itself”). Indeed, then-

   Acting Secretary Duke never provides a reasoned explanation for why it is “clear” DACA “should

   be terminated.” TAC, Ex. E.9 To conclude from the administrative record that she indeed meant


   9
     This Court has repeatedly sought explanation of Defendants’ representation at an early conference that Attorney
   General Sessions made the decision to end the DACA program, including as to the details of the termination of
   DACA. See, e.g., ECF 104 at 8 n.4. Now, the Defendants admit that these statements were an accurate reflection of
   the “factual (and undisputed) reality” of the Attorney General’s involvement in the DACA Termination. MTD at 22.
   They contend, however—and without any support whatsoever—that the factual reality should be subordinated to a




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Case 1:16-cv-04756-NGG-VMS Document 240 Filed 01/13/18 Page 17 of 34 PageID #: 3752




   “litigation risk” would be to “substitute . . . counsel’s discretion,” which the Court cannot do.

   Burlington, 371 U.S. at 169; see also Amerijet Int’l, Inc. v. Pistole, 753 F.3d 1343, 1350 (D.C. Cir.

   2014) (“[A] ‘fundamental requirement of administrative law is that an agency set forth its reasons

   for decision; an agency’s failure to do so constitutes arbitrary and capricious agency action.’”).

            Second, even if the Court were to entertain Defendants’ “litigation risk” rationale, it does

   not pass muster under the APA. Affirmatively terminating a nationwide program to stave off

   possible judicial termination of that program makes no rational sense.10 An agency making policy

   based on litigation risk “deliberately trade[s] one lawsuit for another.” Organized Vill. of Kake v.

   U.S. Dep’t of Agric., 795 F.3d 956, 970 (9th Cir. 2015) (en banc) (finding litigation risk an

   inadequate reason for the agency action); see also United Mine Workers of Am. v. U.S. Dep’t of

   Labor, 358 F.3d 40, 44 (D.C. Cir. 2004). Instead of avoiding litigation, Defendants have

   precipitated over ten lawsuits challenging the DACA Termination across the country. Far from

   preventing turmoil, Defendants’ decision has disrupted both the lives of these young Americans

   and the agency’s internal functions. This assumes, moreover, that Defendants made a proper

   litigation-risk calculation, which they did not. Defendants failed to consider the differences

   between DACA and DAPA, to weigh litigation risk against other policy considerations like the

   benefits and reliance interests DACA had generated, or to consider alternatives to terminating the

   program altogether. See Regents, 2018 WL 339144, at *24 (finding the “litigation-management




   legal fiction based only on the official with statutory authority to make the decision, even if, as Defendants concede,
   that official did not alone exercise that authority. See MTD 22. This Court should reject Defendants’ attempts to
   obscure the “factual” decision making process with their preferred legal fiction. See Pls.’ Mem. in Support of
   Prelim. Inj., ECF 123-1 at 27–28.
   10
      Judge Lynch aptly illustrated the irrationality behind Defendants’ claimed reason for terminating DACA. See Oral
   Argument at 10:37–10:55, In re Nielsen, No. 17-3345 (2d Cir. Dec. 14, 2017),
   http://www.ca2.uscourts.gov/decisions/isysquery/76fe6da8-ebaf-4dc5-b7ae-8f67f4b6856b/10/doc/17-
   3345%202.mp3 (“If the litigation risk is the risk that the program will be terminated . . . I’m not sure I understand—
   what is the risk? It’s like saying, well if I go this course, there’s a forty percent chance that I’m going to drown, so
   I’ll just drown myself.” (Lynch, J.)).


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Case 1:16-cv-04756-NGG-VMS Document 240 Filed 01/13/18 Page 18 of 34 PageID #: 3753




   assessment” constituted “serious error” and does not pass muster under arbitrary and capricious

   review); see also Pls.’ Mem. 21–22.

            Accepting Defendants’ position would effectively insulate all agency action from

   meaningful judicial review. Indeed, Defendants claim as much, stating that because litigation risk

   motivated the DACA Termination there is no “law to apply” to its decision. According to

   Defendants, agencies can circumvent APA requirements simply by stating that they fear a lawsuit,

   without identifying the legal ground on which the agency action is vulnerable or explaining why

   that vulnerability requires wholesale rescission, and without regard to reasons that weigh against

   rescission (such as the reasons the agency itself gave when adopting the challenged policy). That

   is simply not the law. See, e.g., Mexichem Specialty Resins, Inc. v. E.P.A., 787 F.3d 544, 557 (D.C.

   Cir. 2015) (“If an agency could engage in rescission by concession, the doctrine requiring agencies

   to give reasons before they rescind rules would be a dead letter.”).11

                2.     Defendants’ mistake in concluding DACA is unlawful is relevant.

            Defendants pivot from their claim that DACA is unlawful, instead arguing that determining

   “whether or not DACA was actually unlawful” is irrelevant to whether the DACA Termination

   was arbitrary and capricious. MTD 16. But Defendants’ determination regarding the lawfulness of

   DACA was central to the DACA Termination, notwithstanding their attempts to invent post-hoc

   policy rationales. Moreover, this determination is based on legal error, including improper reliance

   on a distinguishable and non-controlling case. See Regents, 2018 WL 339144, at *17 (holding the



   11
     Defendants have likewise failed to provide a reasonable explanation for the alteration to their information-sharing
   policy. First, in light of Defendants’ inconsistent statements on the changes to this policy, the Court should not take
   their most recent unsworn representation that there has been “no change” to it on face value. This is particularly true
   given the continued differences between the original policy, which restricted sharing any information except in
   limited circumstances, to what Defendants now claim is the same policy, which restricts only proactively sharing
   information except for the same circumstances. See Pls.’ Mem. 15 n.8; TAC ¶¶ 155–56, 179, 181. Second, even if
   Defendants have actually reverted to the prior policy, such action constitutes a classic case of voluntary cessation
   that does not moot Plaintiffs’ claim. See supra Part I.A.


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Case 1:16-cv-04756-NGG-VMS Document 240 Filed 01/13/18 Page 19 of 34 PageID #: 3754




   DACA Termination not in accordance with law “because it was based on the flawed legal premise

   that the agency lacked authority to implement DACA”).

           Defendants’ attempt to cast Attorney General Sessions’ conclusion that DACA was “an

   unconstitutional exercise of authority by the Executive Branch,” AR 251, as both a constitutional

   and a “policy judgment” strains reason. MTD 16. The Administrative Record contains no basis for

   counsel’s contention that concerns about DACA’s constitutionality “equally support a policy

   judgment,” id. The Court must reject Defendants’ request that it divine a policy justification post-

   hoc when none was provided at the time the decision was made. See Burlington Truck Lines, 371

   U.S. at 168. Furthermore, Defendants’ argument that courts should analyze an agency’s

   constitutional reasoning as a “policy judgment” is unsupported by law. The one case Defendants

   cite refutes this proposition. See MTD 16, Syracuse Peace Council v. F.C.C., 867 F.2d 654, 659

   (D.C. Cir. 1989) (“Of course, if the Commission had written its opinion in purely constitutional

   terms, we would have no choice but to address the constitutional issue.”).

           Next, Defendants’ reliance on the Fifth Circuit’s decision in Texas v. United States to

   bolster the Sessions Letter is entirely misplaced.12 See Regents, 2018 WL 339144, at *22 (“the

   DAPA litigation was not a death knell for DACA” because DAPA interfered with an existing INA

   scheme and applied to four times as many individuals). It cannot be correct, as Attorney General

   Sessions’ Letter claims, that “the DACA policy has the same legal and constitutional defects” as

   DAPA, AR 251, because no court has “recognized” any constitutional defects with DAPA. Texas

   v. United States, 809 F.3d 134, 150 (5th Cir. 2015), as revised (Nov. 25, 2015), aff’d by an equally

   divided court, 136 S. Ct. 2271 (2016) (“We decide this appeal . . . without resolving the



   12
     Defendants’ statement that the Supreme Court “already held that [DAPA] was likely unlawful,” MTD 15, is
   misleading. The Court merely left in place the Fifth Circuit’s decision by an equally divided Supreme Court, United
   States v. Texas, 136 S. Ct. 2271 (2016), in a non-precedential decision which is not binding on the Second Circuit.


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Case 1:16-cv-04756-NGG-VMS Document 240 Filed 01/13/18 Page 20 of 34 PageID #: 3755




   constitutional claim.”). Moreover, contrary to Defendants’ conclusory assertion, MTD 3, DACA

   is materially distinguishable from DAPA. The Fifth Circuit’s legal determination regarding DAPA

   would not be applicable to DACA because it relies on a feature present only in the former: DAPA

   was available only to persons with U.S. citizen or Lawful Permanent Resident children. Id. at 178–

   86. Unlike DACA recipients, DAPA-eligible individuals were already subject to a “an intricate

   process . . . to derive a lawful immigration classification from their children’s immigration status”

   in the INA. Id. at 179; see also Regents, 2018 WL 339144, at *22 (“An important criticism against

   DAPA would not apply against DACA, namely the fact that Congress had already established a

   pathway to lawful presence for alien parents of citizens.”). DAPA was deemed unlawful because

   of this alleged interference with the existing statutory scheme, not because of any similarity to

   DACA. In fact, the Fifth Circuit took care in its decision not to conflate the DACA and DAPA

   programs. See Texas, 809 F.3d at 173–74 (stating “[a]ny extrapolation from DACA must be done

   carefully” and “DACA and DAPA are not identical”). Defendants’ arguments distract from (but

   do nothing to undermine the fact the DACA Termination was based on legal error, which makes

   it arbitrary and capricious, which Plaintiffs have adequately alleged. See, e.g., SEC v. Chenery

   Corp. (Chenery I), 318 U.S. 80, 94 (1943) (“[A]n order may not stand if the agency has

   misconceived the law.”).

          B.    The Duke Memo Is a Substantive Rule Requiring Notice and Comment.

          Plaintiffs have adequately pleaded the Duke Memo violates the APA’s notice-and-

   comment requirements. Substantive (or “legislative”) rules “are ones treated as binding by the

   agency.” Pub. Citizen, Inc. v. U.S. Nuclear Regulatory Comm’n, 940 F.2d 679, 682 (D.C. Cir.

   1991). The Duke Memo creates a substantive rule by directing DHS to categorically deny all new

   applications for deferred action from individuals who fit the original DACA eligibility criteria

   received after September 5, 2017, and any renewal applications received after October 5, 2017.


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Case 1:16-cv-04756-NGG-VMS Document 240 Filed 01/13/18 Page 21 of 34 PageID #: 3756




   TAC ¶ 104. The DACA Termination is thus a substantive rule, and Defendants failed to undergo

   the notice-and-comment procedures required by the APA. See TAC ¶¶ 102, 174–75.

            In moving to dismiss this claim, Defendants make two arguments: that the Duke Memo is

   a statement of general policy exempt from the APA’s notice-and-comment requirements; and that

   if the Duke Memo were a substantive rule it would make the Napolitano Memo one as well, making

   DACA “void ab initio” and “leaving Plaintiffs without a remedy.” MTD 16–18. Both arguments

   fail.

            First, the Duke Memo’s binding language and effects make it a substantive rule. The key

   distinction between substantive rules and “general statements of policy” is “the agency’s intent to

   be bound.” Pub. Citizen, 940 F.2d at 681–82. Where an agency acts to narrowly restrict the

   discretion its officials otherwise would be free to exercise, and does so in a manner that binds those

   officials, that action is a substantive rule. See Cmty. Nutrition Inst. v. Young, 818 F.2d 943, 948

   (D.C. Cir. 1987) (“[C]abining of an agency’s prosecutorial discretion can in fact rise to the level

   of a substantive, legislative rule.”).13 To determine whether an action is a general statement of

   policy or a substantive rule, courts examine first the text of the statement itself. If “inconclusive,”

   courts consider the agency’s “actual applications” of the statement. Pub. Citizen, 940 F.2d at 682.

   If a “so-called policy statement is in purpose or likely effect one that narrowly limits administrative

   discretion, it will be taken for what it is—a binding rule of substantive law.” Guardian Fed. Sav.

   & Loan Ass’n v. Fed. Sav. & Loan Ins. Corp., 589 F.2d 658, 666–67 (D.C. Cir. 1978).




   13
      See also, e.g., Batterton v. Marshall, 648 F.2d 694, 702 (D.C. Cir. 1980) (“[Substantive rules] narrowly constrict
   the discretion of agency officials by largely determining the issue addressed.”); Pickus v. U.S. Bd. of Parole, 507
   F.2d 1107, 1113 (D.C. Cir. 1974) (instruction directing use of weighted criteria in parole determinations was not a
   “general statement[] of policy” where the action had a “substantial effect” on ultimate parole decisions and
   “defin[ed] a fairly tight framework to circumscribe [a parole board’s] statutorily broad power.”); U.S. Gypsum Co. v.
   Muszynski, 161 F. Supp. 2d 289, 291–92 (S.D.N.Y. 2001) (“such boilerplate [language] cannot render an otherwise
   final and binding agency action non-final and non-binding.”).


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Case 1:16-cv-04756-NGG-VMS Document 240 Filed 01/13/18 Page 22 of 34 PageID #: 3757




            Attempting to paint the Duke Memo as an “exercise [of] enforcement authority . . .

   adjudicate[d] . . . on an individual, case-by-case basis,” Defendants misleadingly quote it to alter

   its actual meaning. MTD 19. The quoted “individual, case-by-case basis” language refers only to

   the narrow set of deferred action (and renewal) requests that the Duke Memo permits USCIS

   officials even to consider—initial requests already pending on September 5, 2017, and renewal

   requests (for a subset of DACA recipients) received by October 5, 2017. See TAC, Ex. E. The

   Memo goes on to provide that all requests falling outside the narrow parameters it sets out will be

   “rejecte[d].” Id. The language could not be clearer—or more clearly binding.14

            Were that not enough, Defendants’ application of the Duke Memo further confirms it is a

   substantive rule. Defendants concede they “rejected” renewal applications “in accordance with the

   [Duke Memo],” on the sole basis that the applications arrived after the October 5 deadline. MTD

   24. Those rejections—of which there were at least 4,000, see TAC, Ex. H; see also TAC ¶¶ 118–

   19, 121–28, 134—illustrate the Memo’s binding nature. Defendants admit the Memo directs

   agency officials to reject deferred-action requests from those previously eligible under DACA, see

   MTD 24, and cannot deny that agency officials are bound to act in accordance with it. As such,

   Defendants’ observation that the Duke Memo “does not categorically forbid future grants of

   deferred action,” MTD 18, irrelevant to whether it is a substantive rule.15


   14
      Although the court in Regents of the University of California dismissed those plaintiffs’ notice-and-comment
   claim, that court’s reliance on Mada-Luna v. Fitzpatrick, 813 F.2d 1006 (9th Cir. 1987), to do so is misplaced.
   In Mada-Luna, the Ninth Circuit held an agency policy setting forth factors for it to consider in evaluating deferred
   action applications could be amended without notice and comment, and that both the initial policy and its
   subsequent amendment constituted general policy statements. Id. at 1014–17. Mada-Luna had no opportunity to
   address whether an agency action that “contains mandatory language on its face” and establishes a “binding norm”
   can nevertheless be excused from notice-and-comment procedures. That is exactly what the court
   in Regents concedes the Duke Memo does. Regents, slip op. at 4 (N.D. Cal. Jan. 12, 2018). Further, Plaintiffs here
   allege that the DACA Termination leaves no discretion, which requires notice and comment even when the policy
   being repealed is a non-substantive rule. Parco, 426 F. Supp. 976. For this reason, the Regents court’s reasoning
   should not hold sway with this Court.
   15
      Defendants also point to language in the Duke Memo indicating it was issued pursuant to the Secretary’s statutory
   authority to set “immigration policy and priorities,” as well as the Memo’s boilerplate disclaimer, but neither is




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Case 1:16-cv-04756-NGG-VMS Document 240 Filed 01/13/18 Page 23 of 34 PageID #: 3758




            Defendants “void ab initio” argument fares no better. Even if Defendants believed the 2012

   DACA Memo was a substantive rule, which it was not,16 that would not justify repealing it without

   notice and comment. The APA’s notice-and-comment requirement applies to “formulating,

   amending, or repealing” a substantive rule. 5 U.S.C. § 551(5) (emphasis added). No exception

   exists for substantive rules the agency belatedly claims were improperly promulgated. By the

   APA’s plain text, even if the 2012 DACA Memo were a substantive rule, the agency was required

   to go through notice and comment to repeal it, whether or not it went through that process when

   issued. See Consumer Energy Council of Am. v. Fed. Energy Regulatory Comm’n, 673 F.2d 425,

   448 (D.C. Cir. 1982) (“[T]he argument that repeal was required because the regulations were

   defective does not explain why notice and comment could not be provided.”), aff’d sub nom.

   Process Gas Consumers Grp. v. Consumer Energy Council of Am., 463 U.S. 1216 (1983).17 As

   courts have recognized, such an exception would permit an agency to circumvent APA


   relevant to whether the Duke Memo created a binding rule, and Defendants do not articulate an argument to the
   contrary. See, e.g., Appalachian Power Co. v. E.P.A., 208 F.3d 1015, 1022-23 (D.C. Cir. 2000) (inclusion of
   boilerplate language does not exempt agency action from notice-and-comment requirements where other factors
   show establishment of substantive rule); Scenic America, Inc. v. U.S. Dep’t of Transp., 836 F.3d 42, 56 (D.C. Cir.
   2016) (same, where document represents final action “from which legal consequences will flow.”).
   16
      The contention that the 2012 DACA Memo and the Duke Memo are either both substantive rules or both general
   policy statements is simply wrong. The 2012 DACA Memo provided guidance to DHS officials on how to exercise
   their prosecutorial discretion, similar to all other group-based deferred-action programs, which Defendants concede
   are general statements of policy. See MTD 19. The Duke Memo, in contrast, specifies dates after which agency
   officials are prohibited from exercising any discretion. It is simply incorrect that the Duke Memo’s binding
   nature converts the 2012 DACA Memo—a classic example of a general statement of policy—into a
   substantive rule. See also U.S. ex rel. Parco v. Morris, 426 F. Supp. 976, 984–85 (E.D. Pa. 1977) (repeal of
   agency guidance that removed agency discretion was a substantive rule subject to notice and comment even
   though original guidance had been issued without notice and comment).
   17
      Defendants maintain that Consumer Energy Council, MTD 18 n.6, does not apply here, because in that case, the
   rule rescinded was initially promulgated after notice and comment. MTD 18 n.6. Defendants’ argument fails. First,
   under the clear text of the APA, where an agency promulgates a substantive rule—such as the Duke Memo—an
   agency cannot evade notice and comment except in narrow circumstances not applicable here. See 5 U.S.C. §
   553(b). Here, the agency did not include any finding of “good cause” that would exempt it from notice and
   comment. Id. Second, the basic reasoning of Consumer Energy Council, 673 F.2d at 447 n.79, still applies. In
   circumstances where an agency creates a substantive rule by repealing a prior policy, the agency cannot evade APA
   procedures. See, e.g., Nat’l Treasury Employees Union v. Cornelius, 617 F. Supp. 365, 371 (D.D.C. 1985) (“It
   would significantly erode the usefulness of the APA if agencies were permitted unilaterally to repeal regulations . . .
   by declaring that the earlier regulations were just a mistake.”); see also Consumer Energy Council, 673 F.2d at 447
   n.79 (observing that “the question whether the regulations are indeed defective is one worthy of notice and an
   opportunity to comment”).


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Case 1:16-cv-04756-NGG-VMS Document 240 Filed 01/13/18 Page 24 of 34 PageID #: 3759




   requirements by unilaterally asserting a rule was improperly promulgated. See, e.g., id. at 447 n.79.

   In addition to creating perverse incentives, such a rule would undermine the APA’s values of

   democratic accountability, transparency, and fair play. See Int’l Union, United Mine Workers of

   Am. v. Mine Safety & Health Admin., 407 F.3d 1250, 1259 (D.C. Cir. 2005).

            C.     Plaintiffs Properly Plead an RFA Claim.

            As Defendants rightly concede, MTD 25, if this Court holds Plaintiffs adequately plead a

   notice-and-comment claim, it follows Plaintiffs sufficiently plead a claim under the RFA, 5 U.S.C.

   §§ 601–612. Defendants’ challenge to MRNY’s standing under the RFA lacks merit. MTD 25,

   n.11. MRNY needs only allege it is a “small entity” under the Act, including that it is a non-profit,

   independently owned and operated, and not dominant in its field. MRNY’s allegations are more

   than sufficient to meet this standard. TAC ¶¶ 45–46, 69, 185. Defendants make no argument for

   why MRNY does not meet this standard, nor could they.

            D.     Plaintiffs Adequately Plead the DACA Termination Violates Equal Protection.

            Plaintiffs sufficiently plead that Defendants’ DACA Termination violates the Fifth

   Amendment because it was substantially motivated by animus18 toward, and will have a disparate

   impact on, Latinos and Mexicans. TAC ¶¶ 196–98. Intentional governmental discrimination on

   the basis of race and national origin violates equal protection. Hayden v. Cty. of Nassau, 180 F.3d

   42, 48 (2d Cir. 1999). A plaintiff may establish an equal protection violation by showing a “facially

   neutral statute or policy has an adverse effect and that it was motivated by discriminatory animus.”




   18
     “Animus” in this context does not require a showing of hatred or malice. As Justice Kennedy has observed,
   “[p]rejudice . . . rises not from malice or hostile animus alone.” Bd. of Trustees of Univ. of Ala. v. Garrett, 531 U.S.
   356, 374 (2001) (Kennedy, J., concurring). In addition to hatred, factors including stereotypes, fears, and private
   bias can constitute unconstitutional “animus,” as can a mere desire to harm a particular disfavored group. See, e.g.,
   Romer v. Evans, 517 U.S. 620, 633–35 (1996); City of Cleburne v. Cleburne Living Ctr., 473 U.S. 432, 450 (1985);
   Palmore v. Sidoti, 466 U.S. 429, 433 (1984).




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Case 1:16-cv-04756-NGG-VMS Document 240 Filed 01/13/18 Page 25 of 34 PageID #: 3760




   Brown v. City of Oneonta, 221 F.3d 329, 337 (2d Cir. 2000).19 Plaintiffs have alleged so here.

            Defendants first improperly import a standard from a case involving discovery in criminal

   proceedings to argue that Plaintiffs’ claim is subject to a heightened pleading requirement. See

   MTD 20–21 (citing United States v. Armstrong, 517 U.S. 456, 464 (1996)). But the “clear

   evidence” standard and the “presumption of regularity” articulated in Armstrong do not apply in

   the present context. Armstrong involved a plaintiff seeking discovery in a criminal selective-

   prosecution case, rather than a defendant seeking to dismiss a civil action. 517 U.S. at 458–59.20

   To survive a motion to dismiss, a court need find only that the factual allegations in the complaint

   are sufficient to support the necessary legal conclusions and that they plausibly suggest an

   entitlement to relief. Ashcroft v. Iqbal, 556 U.S. 662, 678–79 (2009).21 Armstrong has no relevance

   to this motion.

            Defendants next argue Plaintiffs fail to demonstrate that then-Acting Secretary Duke

   harbored “a secret discriminatory motive” in terminating DACA. MTD 22. But as Defendants

   themselves concede, the Acting Secretary was not—as a matter of fact—the sole decision maker,

   MTD 22 n.9, and there is nothing in the administrative record even claiming the decision was hers.

   In fact, the President himself has said the decision was his, see Pls.’ Mem. 27–28, and there is

   nothing “secret” or “hidden” about the President’s desire to discriminate against Latinos and

   Mexicans.


   19
      Discriminatory intent “implies that the decisionmaker . . . selected or reaffirmed a particular course of action at
   least in part ‘because of,’ not merely ‘in spite of,’ its adverse effects upon an identifiable group.” Hayden, 180 F.3d
   at 50.
   20
      Rule 16 of the Federal Rules of Criminal Procedure provides a highly circumscribed right to discovery in criminal
   cases, see Bowman Dairy Co. v. U.S., 341 U.S. 214, 218–19 (1951), in contrast to the expansive right to discovery in
   civil litigation, see Fed. R. Civ. P. 26; Degen v. United States, 517 U.S. 820, 825–26 (1996) (“[a] criminal defendant
   is entitled to rather limited discovery,” compared to that available in civil litigation).
   21
      Any presumption of regularity properly attributable to Armstrong is now part of the Iqbal plausibility standard,
   see Main Street Legal Servs., Inc. v. Nat’l Sec’y Council, 811 F.3d 542, 564–65 (2d Cir. 2016), and in any event is
   more than rebutted by the allegations in the TAC.




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Case 1:16-cv-04756-NGG-VMS Document 240 Filed 01/13/18 Page 26 of 34 PageID #: 3761




           The allegations of animus toward Latinos and Mexicans in the TAC are sufficient to

   withstand Defendants’ motion to dismiss.22 Throughout his presidential campaign, then-Candidate

   Trump made racially charged statements against Latinos and Mexicans, building support for his

   anti-immigrant agenda. TAC ¶¶ 89–100. Since June 2015, the President has characterized Latinos

   and Mexicans as “criminals,” further generalizing that Mexicans are “bringing drugs [and] crime.

   They’re rapists.” TAC ¶¶ 90–91. He made inflammatory remarks about a U.S. District Judge of

   Mexican ancestry for his heritage, stating “He’s a Mexican. We’re building a wall between here

   and Mexico. The answer is, he is giving us very unfair rulings—rulings that people can’t even

   believe.” TAC ¶ 96. As President, he referred to undocumented immigrants as “animals” during a

   speech in August 2017, TAC ¶ 97, and has continued to characterize the undocumented Latino

   community as criminals and gang members, TAC ¶ 99.23 And even if President Trump’s

   expressions of racial animus “were not about the [DACA] rescission . . . they still have relevance

   to show animus against people south of our border.” Regents, Nos. 17-05211, 17-05235, 17-05329,

   17-05380, 17-05813, slip op. at 11 (N.D. Cal. Jan. 12, 2018). Defendants cite nothing to support

   their implied contention that the President’s discriminatory intent can effectively be laundered by

   being implemented by an agency under his control.


   22
      Indeed, one court has already properly rejected Defendants’ motion to dismiss an indistinguishable equal
   protection claim, finding the plaintiffs “raise[d] a plausible inference that racial animus towards Mexicans and
   Latinos was a motivating factor in the decision to end DACA.” Regents, Nos. 17-0521, 17-05235, 17-05329, 17-
   05380, 17-05813, slip op. at 12 (N.D. Cal. Jan. 12, 2018).
   23
      Even though after the DACA Termination was announced President Trump tweeted, “Does anybody really want
   to throw out good, educated and accomplished young people who have jobs,” TAC ¶ 110, this inconsistency does
   not nullify his previous slew of racially hostile statements. A UCLA study found that President Trump utilizes
   paralipssi and pre-emption rhetorical devices “to make strongly negatively claims about immigrants while insisting
   that he’s ‘fair’ and ‘fair-minded.’” Ex. F. His positive statements toward recipients of deferred action through
   DACA do not undermine the fact that its termination was motivated by racial animus. Moreover, this Court must
   read any ambiguities in the complaint in the light most favorable to the complaining party, and draw all reasonable
   inferences therefrom. See W.R. Huff Asset Mgmt. Co. v. Deloitte & Touche L.L.P., 549 F.3d 100, 106 (2d Cir. 2008);
   see also Tufariello v. Long Island R.R. Co., 458 F.3d 80, 85 (2d Cir. 2006); Regents, slip op. at 12 (N.D. Cal. Jan.
   12, 2018) (“That President Trump has at other times shown support for DACA recipients cannot wipe the slate clean
   as a matter of law at the pleading stage.”).




                                                           18
Case 1:16-cv-04756-NGG-VMS Document 240 Filed 01/13/18 Page 27 of 34 PageID #: 3762




            Defendants’ attempt to disavow the Trump Administration’s discriminatory intent

   particularly fails in light of the President’s recent statements and actions.24 On December 29, 2017,

   the President tweeted: “The Democrats have been told, and fully understand, that there can be no

   DACA without the desperately needed WALL at the Southern Border and an END to the horrible

   Chain Migration & ridiculous Lottery System of Immigration etc. We must protect our Country at

   all cost!” Ex. C. This tweet connects terminating DACA to the Administration’s plan to build a

   wall on the U.S.-Mexico border, a campaign promise that was advanced by racialized stereotypes

   of Mexicans and Latinos. It also demonstrates that President Trump’s past statements supporting

   a legislative solution for DACA were pretextual, Ex. D, and that the Administration continues to

   use DACA recipients as bargaining chips to advance his anti-immigrant agenda, further

   dehumanizing these individuals for political gain. Additionally, President Trump has reportedly

   stated Haitian immigrants “all have AIDS,” and Nigerian immigrants would never “go back to

   their huts.” Ex. E. As recently as January 11, 2018, when he was asked about extending temporary

   protected status to immigrants from Haiti, El Salvador, and African countries, President Trump

   reportedly asked, “Why are we having all these people from shithole countries come here?” and

   went on to suggest that the United States instead should bring in more immigrants from Norway.

   Ex. G. These statements—which do not include the myriad bigoted remarks the President has made

   about other minority groups, such as Muslims, Native Americans, and transgender individuals—

   demonstrate that even after he took office, the President has continued his racially charged and

   discriminatory rhetoric against immigrants. Indeed, courts have recognized he has impermissibly



   24
      Plaintiffs respectfully request this Court to take judicial notice of these facts pursuant to Federal Rules of
   Evidence 201(b)(2), as this fact is not subject to reasonable dispute since it can be accurately and readily determined
   from sources whose accuracy cannot be reasonably questioned. See Toussie v. Town Bd. of East Hampton, 874 F.
   Supp. 2d 135, 142 (E.D.N.Y. 2012) (courts may “rely on matters of public record” in deciding a motion to dismiss).




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Case 1:16-cv-04756-NGG-VMS Document 240 Filed 01/13/18 Page 28 of 34 PageID #: 3763




   adopted policies based on discriminatory animus.25

            President Trump’s clear discriminatory intent is sufficient to establish that Plaintiffs have

   adequately pleaded an equal protection violation, but it is nonetheless noteworthy that Attorney

   General Sessions, a key decision-maker in the DACA Termination, has also made discriminatory

   remarks regarding Latinos. For example, in April 2017, he referred to immigrants crossing the

   southern border as “filth.” TAC ¶ 100. And when announcing the DACA Termination he falsely

   claimed DACA “contributed to a surge of unaccompanied minors on the southern border,” and

   that it “denied jobs to hundreds of thousands of Americans by allowing those same jobs to go to

   illegal aliens.” TAC ¶ 108. In these statements, Attorney General Sessions directly linked DACA

   to “terrible humanitarian consequences.” Id.

            Defendants contend, without authority, that the above statements are insufficient to plead

   an equal protection claim because the President’s statements were made before he took the oath of

   office and that no statements are attributed to then-Acting Secretary Duke. MTD 21–22. Contrary

   to these assertions, Plaintiffs are permitted to rely on the historical background of the challenged

   decision, the sequence of events leading up the decision, contemporary statements of decision

   makers, and the position taken by those to whom the decision makers were knowingly responsive,

   to determine whether racial animus was a motivating factor in the decision. See Vill. of Arlington

   Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252, 266–67 (1977). Furthermore, it is appropriate

   for the Court to find that an official who responds to directives from biased superiors is enacting

   racial bias. See LeBlanc-Sternberg v. Fletcher, 67 F.3d 412, 425 (2d Cir. 1995) (finding the



   25
     See Int’l Refugee Assistance Project v. Trump, 857 F.3d 554, 601 (4th Cir. 2017) (en banc) (Candidate Trump’s
   anti-Muslim statements supporting likelihood of success on Establishment Clause challenge to second Muslim ban),
   vacated as moot, 138 S.Ct. 353 (2017); Int’l Refugee Assistance Project v. Trump, 265 F. Supp. 3d 570, 617, 628-29
   (D. Md. 2017) (same, as to the third Muslim ban); Doe 1 v. Trump, 2017 WL 4873042, at *32 (D.D.C. Oct. 30,
   2017) (plaintiffs likely to succeed on equal protection challenge to ban on military service by transgender persons).


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Case 1:16-cv-04756-NGG-VMS Document 240 Filed 01/13/18 Page 29 of 34 PageID #: 3764




   position taken by those to whom the decision makers were knowingly responsive can assist in a

   showing of animus). Both the Ninth and Fourth Circuits have found it appropriate to consider

   President Trump’s campaign statements as proof of a discriminatory motive for implementing his

   promised Muslim ban. See Washington v. Trump, 847 F.3d 1151, 1167-68 (9th Cir. 2017); Int’l

   Refugee Assistance Project v. Trump, 857 F.3d 554, 601 (4th Cir. 2017); see also McCreary Cty.,

   Ky. v. Am. Civil Liberties Union of Ky., 545 U.S. 844, 866 (2005) (“But the world is not made

   brand new every morning, and the Counties are simply asking us to ignore perfectly probative

   evidence; they want an absentminded objective observer, not one presumed to be familiar with the

   history of the government's actions and competent to learn what history has to show.”). This Court

   may properly consider Candidate Trump’s campaign rhetoric and Attorney General Sessions’

   discriminatory statements in determining the plausibility of Plaintiffs’ allegations.

          In addition, Plaintiffs have provided sufficient factual allegations that terminating DACA

   has a disparate impact on Latinos, particularly those of Mexican descent. TAC ¶ 197; contra MTD

   21. USCIS itself has published numerous statistics that confirm this argument. As of September 4,

   2017, 548,000 individuals of Mexican origin had deferred action through DACA, constituting 79.4

   percent of all active DACA recipients. See Pls.’ Class Certification Mot., Ex. A, Attach. 2, ECF

   No. 124-2. Terminating DACA is guaranteed to harm hundreds of thousands of Latinos,

   particularly those of Mexican origin.

          E.    Plaintiffs State a Procedural Due Process Claim.

          Plaintiffs’ detailed allegations of the violations of the procedural due process rights of

   MRNY members, clients, and other putative class members, whose timely renewal applications

   Defendants improperly rejected, are sufficient to state a claim for relief. A procedural due process

   inquiry generally follows a two-step process. A court “first ask[s] whether there exists a liberty or

   property interest of which a person has been deprived, and if so [it] ask[s] whether the procedures


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Case 1:16-cv-04756-NGG-VMS Document 240 Filed 01/13/18 Page 30 of 34 PageID #: 3765




   followed by the State were constitutionally sufficient.” Victory v. Pataki, 814 F.3d 47, 59 (2d Cir.

   2016), as amended (Feb. 24, 2016) (quotation marks omitted). Plaintiffs’ allegations, that they

   hold a protected interest and that the process Defendants provided for renewal applications is

   inadequate, clearly establishes a claim under the Due Process Clause.

           The Duke Memo announced that approximately 150,000 young people who had received

   deferred action through DACA suddenly had only one month to resubmit their DACA renewal

   forms or lose access to the program entirely.26 As a result, individuals seeking to renew their

   deferred action through DACA raced to collect their documents and scrounged or fundraised the

   hundreds of dollars in applications fees to submit before the October 5 deadline. Defendants

   nevertheless rejected thousands of renewal applications that DACA recipients mailed well in

   advance of the deadline: some arrived late due to postal delays; others were delivered on October

   5 but were collected by Defendants only on October 6; and still others were delivered before

   October 5 but rejected due to alleged clerical errors, without time to resubmit by the deadline. TAC

   ¶¶ 54–56, 117–25, 127–28, 132–34; TAC, Ex. I.27 This confusing and arbitrary treatment of

   renewal applicants denied thousands of young persons the “fundamental notions of fair play

   underlying the concept of due process.” Montilla v. I.N.S., 926 F.2d 162, 167 (2d Cir. 1991).

                1.    The Complaint Plausibly Alleges Protected Liberty And Property Interests.

           The due process clause protects liberty and property interests to which a person has a

   “legitimate claim of entitlement,” Barrows v. Burwell, 777 F.3d 106, 113 (2d Cir. 2015), arising

   either “directly from the Due Process Clause itself or from statutes, regulations, or policies enacted



   26
     See TAC ¶¶ 104, 111.
   27
     In some cases, the mistakes resulted from USCIS’s own instructional materials. Some individuals submitted a fee
   of $465, rather than the new fee of $495. TAC ¶ 141. However, USCIS’s website still contains an instructional
   video noting the earlier $465 fee. See USCIS, Consideration of Deferred Action for Childhood Arrivals – How to
   Renew DACA, at 2:22–24, 4:11–24, https://www.uscis.gov/videos/consideration-deferred-action-childhood-
   arrivals-how-renew-daca (last updated Sept. 5, 2017).


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Case 1:16-cv-04756-NGG-VMS Document 240 Filed 01/13/18 Page 31 of 34 PageID #: 3766




   by the [government],” Victory, 814 F.3d at 59. Plaintiffs have properly pleaded protected liberty

   and property interests regarding the DACA Termination. DACA recipients have at least two sets

   of liberty and property interests that the government’s defective procedures impaired:

   consideration for deferred action, and the inherent liberties granted by the due process clause.

            First, individuals whose deferred action expired before March 6, 2018, held a legitimate

   claim of entitlement based on the Duke Memo that they would be considered for deferred action

   if USCIS received their renewal application by October 5. The Memo was clear: USCIS “will

   adjudicate” renewal applications from these individuals, and “will reject” all other applications.

   TAC, Ex. E (emphasis added). There was no suggestion that minor errors, insufficient under past

   USCIS processes to render an application “improperly filed,” would disqualify timely received

   renewal applications resubmission, nor that Defendants would refuse to consider timely submitted

   but late-delivered or late-collected applications. TAC ¶¶ 54–56, 117–25, 127–28, Ex. I.28

            Second, the loss of DACA implicates well-established liberty interests embodied in the due

   process clause. See Victory, 815 F.3d at 59. These include the interests in pursuing one’s chosen

   career;29 preservation of family ties;30 presence in the United States;31 and driver licensing32. Each

   of these interests is sufficient to require constitutionally adequate process.



   28
      This interest is analogous to the long-recognized property interest in a cause of action, which attaches despite the
   uncertainty of eventual relief. See In Re Motors Liquidation Co., 829 F.3d 135, 158 (2d Cir. 2016); Logan v.
   Zimmerman Brush Co., 455 U.S. 422, 429–30 (1982). This interest is not extinguished, as Defendants suggest,
   because a grant of DACA is discretionary or reversible in the future. In the immigration context, the Second Circuit
   similarly recognized that Congress created a protected interest in the ability to petition for asylum, despite the
   discretionary nature of the underlying decision. Augustin v. Sava, 735 F.2d 32, 37 (2d Cir. 1984); see also Yuen Jin
   v. Mukasey, 538 F.3d 143, 161 n.1 (2d Cir. 2008) (Sack, J., concurring) (“[E]very asylum applicant is nonetheless
   entitled to due process in establishing her eligibility for that form of relief.”); see also United States v. Copeland,
   376 F.3d 61, 71–73 (2d Cir. 2004) (holding that failure to inform noncitizen facing deportation of right to seek
   discretionary relief is fundamentally unfair). The Duke Memo likewise promised that this set of DACA recipients
   was entitled to an adjudication.
   29
      TAC ¶¶ 16, 21–22, 30-31, 39, 43, 82, 122, 136-40; Spinelli v. City of New York, 579 F.3d 160, 172 (2d Cir. 2009).
   30
      TAC ¶¶ ¶¶ 11, 19, 22–23, 32, 36, 44; Rodriguez v. McLoughlin, 214 F.3d 328, 337 (2d Cir. 2000).
   31
      Landon v. Plasencia, 459 U.S. 21, 34 (1982).
   32
      TAC ¶¶ 23, 29, 82, 122, 151; Bell v. Burson, 402 U.S. 535, 539 (1971).


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Case 1:16-cv-04756-NGG-VMS Document 240 Filed 01/13/18 Page 32 of 34 PageID #: 3767




              2.    Defendants Deprived DACA Renewal Applicants of Adequate Process.

          Plaintiffs adequately plead that the government’s implementation of the October 5 deadline

   was procedurally deficient, whether this Court looks to the fundamental requirements of

   procedural due process or applies the balancing test of Mathews v. Eldridge, 424 U.S. 319, 335

   (1976). “An elementary and fundamental requirement of due process in any proceeding . . . is

   notice reasonably calculated, under all the circumstances, to apprise interested parties of the

   pendency of the action and afford them an opportunity to present their objections.” Mullane v.

   Cent. Hanover Bank & Tr. Co., 339 U.S. 306, 314 (1950). Plaintiffs plead that USCIS misled

   applicants about the renewal application requirements by, for example, sending a notice inviting

   many applicants to resubmit materials that were rejected for minor errors, see TAC, Ex. I, only to

   ultimately reject those resubmissions as untimely, TAC ¶ 127. Nor was there notice to DACA

   recipients that delivery of their renewal application after a certain time of day would prevent

   consideration of their renewal application. TAC ¶ 117. Finally, maintaining incorrect information

   about the proper fee ($465 versus $495) on USCIS’s website rendered notice of the fee amount

   inadequate under the Mullane standard. See Strouchler v. Shah, 891 F. Supp. 2d 504, 520–21

   (S.D.N.Y. 2012) (conflicting notices undermine the notice’s ability to “apprise” the individual and

   “increase the probability that a recipient will erroneously lose her benefits”).

          Defendants’ procedures regarding clerical errors and postal/collection delays likewise fail

   the Mathews balancing test, which requires courts to consider the private and governmental

   interests at stake, the risk of an erroneous deprivation, and the probable value of additional or

   substitute procedural safeguards. Mathews, 424 U.S. at 335. Plaintiffs plead in detail the private

   interests affected by Defendants’ inadequate policies, yet Defendants fail to identify the burdens

   or other interests that weigh against, for instance, applying a postmark rule to the October 5

   deadline or allowing the resubmission of applications rejected for minor errors. Defendants’


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Case 1:16-cv-04756-NGG-VMS Document 240 Filed 01/13/18 Page 33 of 34 PageID #: 3768




   policies increased the risk that eligible renewal applicants who applied before USCIS’s arbitrary

   deadline had their applications rejected.

              3.    Defendants Violated Their Own Procedures.

          The government’s refusal to consider resubmitted applications that had been denied

   because of minor errors also violates the due process because procedural due process requires

   that agencies must abide by their own policies and regulations, particularly where deviations

   therefrom would prejudice individuals. See United States ex rel. Accardi v. Shaughnessy, 347

   U.S. 260, 266–67 (1954); see also Montilla, 926 F.2d at 166–67 (explaining that this theory of

   procedural due process “is not limited to rules attaining the status of formal regulations,” and can

   include unpublished internal procedures). As Plaintiffs have alleged, the history of DACA’s

   administration and USCIS’ explicit invitations to resubmit applications with minor errors (be

   they real or merely perceived) demonstrate that USCIS had a policy of not rejecting applications

   solely on that basis. See TAC ¶ 123, Ex. I. Yet, in the very last month of DACA’s existence—

   the very time when adherence to this policy mattered most—USCIS deviated from it, rejecting

   DACA renewal requests for minor (and sometimes illusory) clerical errors, many of which were

   a direct result of the extreme rush to file that the Duke Memo created. See TAC ¶¶ 114–34.

   These deviations plainly prejudiced individuals; their direct result deprived individuals of the

   opportunity to have two more years of deferred action and work authorization. These pleadings

   are sufficient for Plaintiffs’ due process claim to move forward. See, e.g., Nolasco v. Holder,

   637 F.3d 159, 163 (2d Cir. 2011) (holding that noncompliance with agency policies prejudicing

   plaintiffs or inhibiting fundamental rights state a procedural due process claim).

                                               CONCLUSION

          For the aforementioned reasons, this Court should deny Defendants’ Motion to Dismiss.




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Case 1:16-cv-04756-NGG-VMS Document 240 Filed 01/13/18 Page 34 of 34 PageID #: 3769




   /s/ Michael J. Wishnie
   Dated: January 13, 2018

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